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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

 THE SOUTH CAROLINA STATE                                Case No. 3:21-cv-03302-MBS-TJH-RMG
 CONFERENCE OF THE NAACP, et al.,

                     Plaintiffs,                              SENATE DEFENDANTS’
                                                               EXPERT DISCLOSURE
              v.                                             (CONGRESSIONAL PLAN)

 THOMAS C. ALEXANDER, et al.,

                      Defendants.



        Thomas C. Alexander, in his official capacity as President of the Senate, and Luke A.

Rankin, in his official capacity as Chairman of the Senate Judiciary Committee, (collectively, the

“Senate Defendants”), by and through undersigned counsel, hereby identify the following person

they expect to call as an expert witness at trial:

        Sean Trende
        1146 Elderberry Loop
        Delaware, OH 43015
        (804) 937-8151

        The Senate Defendants certify that a written report prepared and signed by Mr. Trende,

including all information required by Fed. R. Civ. P. 26(a)(2)(B), was served on Plaintiffs on April

18, 2022. See Dkt. No. 210.




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April 19, 2022                      Respectfully submitted,

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